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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 18-61877-civ-Moreno/Seltzer

  HUDSON TREVISAN,
  EDWARD SALVATORE TEAGUE,

                   Plaintiffs,
  v.

  P.I.P. INC.,
  WAYNE P. TEAGUE,

              Defendants.
  __________________________________/

                        PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                     DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                       AND INCORPORATED MEMORANDUM OF LAW

            Plaintiff, Hudson Trevisan and Edward Salvatore Teague, by and through the undersigned

  counsel, hereby respond in opposition to Defendants’ Motion to Stay Proceedings and Compel

  Arbitration and Incorporated Memorandum of Law [DE 30] (“Motion”), and in support state the

  following:

       I.      Plaintiffs did not sign the alleged agreements.

            Attached as Exhibit A and Exhibit B are the affidavits of Plaintiffs Teague and Trevisan

  respectively. As stated in paragraph 3 of Plaintiffs’ affidavits, Plaintiffs did not sign the alleged

  agreements filed at DE 30-1 and 30-2. Plaintiffs did not agree to arbitrate their claims. Plaintiffs

  demand a jury trial on all issues so triable that pertain to the alleged arbitration agreements filed

  at DE 30-1 and DE 30-2 including Defendants’ Motion and the enforceability of Defendants’

  alleged arbitration agreements.

                   Because it is well established that “parties cannot be forced to
                   submit to arbitration if they have not agreed to do so,” a district
                   court, rather than a panel of arbitrators, must decide whether a
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                     challenged agreement to arbitrate is enforceable against the parties
                     in question. Chastain v. Robinson–Humphrey Co., 957 F.2d 851,
                     854 (11th Cir.1992). We have said that a party seeking to avoid
                     arbitration must unequivocally deny that an agreement to arbitrate
                     was reached and must offer some evidence to substantiate the
                     denial. Id. More specifically, we require a party resisting arbitration
                     to “substantiate[ ] the denial of the contract with enough evidence to
                     make the denial colorable.” Wheat, First Secs., Inc. v. Green, 993
                     F.2d 814, 819 (11th Cir.1993) (quotation and citation omitted).
                     Once an agreement to arbitrate is thus put “in issue,” the Federal
                     Arbitration Act (FAA) requires the district court to “proceed
                     summarily to the trial thereof” and if the objecting party has not
                     requested a jury trial, “the court shall hear and determine such
                     issue.” 9 U.S.C. § 4.

  Magnolia Capital Advisors, Inc. v. Bear Stearns & Co., 272 Fed. Appx. 782, 785 (11th Cir. 2008).

        II.      The alleged agreements improperly deny Plaintiffs’ right to recover fees and costs
                 under the FLSA.

              The alleged agreements are unenforceable because they deny a substantive right of the Fair

  Labor Standards Act: the right to recover fees and costs pursuant to 29 U.S.C. § 216(b).

              The alleged agreements contain this provision that renders the agreements unenforceable:

  “Each party to any arbitration will pay its own fees and expense, including attorney fees and will

  share other fees of arbitration.”1 See, e.g., Morrison v. Circuit City Stores, Inc., 317 F.3d 646, 669

  (6th Cir. 2003) (en banc) (district court erred in “holding that the cost-splitting provision in the ...

  arbitration agreement was enforceable”); Silva v. Miller, 307 Fed.Appx. 349, 351 (11th Cir. 2009)

  (the FLSA “provides for reasonable attorney’s fees [and] the parties cannot contract in derogation

  of FLSA’s provisions”).

              Notably, this provision in the alleged agreements does not leave any discretion with the

  arbitrator to decide to award any fees and costs. Instead, the alleged agreements explicitly prohibit




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  Plaintiffs’ right to recover their fees and costs. The alleged agreements contravene the FLSA and

  are unenforceable.

                   A party agreeing to arbitrate statutory claims does not “forgo the
                   substantive rights afforded by the statute; it only submits to their
                   resolution in an arbitral, rather than a judicial, forum.” Anders v.
                   Hometown Mortg. Servs., Inc., 346 F.3d 1024, 1029 (11th Cir.
                   2003)(quoting Mitsubishi Motors Corp. v. Soler Chrysler-
                   Plymouth, Inc., 473 U.S. 614, 628, 105 S.Ct. 3346, 87 L.Ed.2d 444
                   (1985)); Gilmer v. Interstate/Johnson Lane Corporation, 500 U.S.
                   20, 26, 111 S.Ct. 1647, 114 L.Ed.2d 26 (1991). Remedial
                   restrictions in an arbitration clause which deny meaningful statutory
                   relief may, however, in the absence of a severability clause,
                   invalidate the entire arbitration clause. See Paladino v. Avnet
                   Computer Technologies, Inc., 134 F.3d 1054 (11th Cir. 1998).

  Velazquez v. Corp. Transit of Am., Inc., 816CV00948T27AEP, 2016 WL 10537597, at *4 (M.D.

  Fla. Dec. 20, 2016).

         The alleged agreements filed at DE 30-1 and DE 30-2 are unenforceable because they deny

  the meaningful statutory relief under the FLSA of Plaintiffs’ right to recover their fees and costs.

  Additionally, the alleged agreements do not have a severability provision; therefore, the

  objectionable provisions cannot simply be severed.2 The alleged agreements in their entirety are

  unenforceable.




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                 Circuit precedent instructs that when an arbitration clause includes
                 a severability clause, the arbitration clause remains enforceable,
                 regardless of the validity of the remedial restrictions. Anders v.
                 Hometown Mortg. Servs., Inc., 346 F.3d 1024, 1032 (11th Cir. 2003)
                 (“Because any invalid provisions are severable, the underlying
                 claims are to be arbitrated regardless of the validity of the remedial
                 restrictions.”). And the validity of the remedial restrictions is to be
                 determined by the arbitrator. Id. at 1032 (“[A] arbitrator and not a
                 court should decide the validity of the remedial restriction
                 provisions.”).
  Velazquez v. Corp. Transit of Am., Inc., 816CV00948T27AEP, 2016 WL 10537597, at *5 (M.D.
  Fla. Dec. 20, 2016).
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                   Plaintiff argues that the one-way fee shifting clause in the
                   Agreement contradicts the FLSA and therefore renders the
                   arbitration provision unenforceable. Doc. 22 at 7–8. Other federal
                   courts have found similar provisions requiring the plaintiff to cover
                   his own attorney’s fees even if he ultimately were to prevail to be
                   unenforceable as applied to FLSA claims, as such provisions are
                   inconsistent with the purpose underlying the statutory claim. See,
                   e.g., Schatt v. Aventura Limousine & Transportation Service,
                   Inc., No. 10–22353–Civ., 2010 WL 4942654, at *3 (S.D.Fla.
                   Nov.30, 2010) (“It is clear that Plaintiff cannot be found to have
                   waived his right to recover his attorney’s fees. Thus, the
                   provision regarding attorney’s fees is unenforceable as applied
                   to this FLSA proceeding.”) (citing Lynn’s Food Stores, Inc. v.
                   United States, 679 F.2d 1350, 1355 (11th Cir.1982)). However,
                   where, as here, the relevant contract includes a severability
                   provision, the remainder of the agreement will be
                   unaffected. Schatt, 2010       WL         4942654,        at       *3
                   (quoting Paladino v. Avnet Computer Techs., Inc., 134 F.3d 1054,
                   1059 (11th Cir.1998)). Accordingly, the Court finds that the
                   Agreement as a whole is not substantively unconscionable.

  Robinson v. Anytime Rentals, Inc., 2:14-CV-528-FTM-38CM, 2015 WL 4393709, at *4 (M.D.

  Fla. Feb. 20, 2015), report and recommendation adopted, 2:14-CV-528-FTM-38CM, 2015 WL

  4393476 (M.D. Fla. July 15, 2015) (emphasis added).

     III.      Plaintiffs’ FLSA claims are beyond the scope of the alleged agreements.

            Plaintiffs’ FLSA claims are beyond the scope of the alleged agreements filed at DE 30-1

  and DE 30-2; therefore, Plaintiffs’ claims are not subject to arbitration.

            The alleged agreements identify Plaintiffs as “employees”—not independent contractors—

  thereby acknowledging that Plaintiffs are entitled to the statutory protections afforded employees.

  The alleged agreements, however, do not mention any statutory rights or protections as being

  included within the scope of the arbitration provision. Instead, the scope of the arbitration
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  provision is limited to the agreement itself: “Any dispute arising out of this agreement shall be

  resolved by mediation or arbitration…”3 Emphasis added.

            The alleged agreements only specify the alleged rates of pay to Plaintiffs. The agreements

  both (1) acknowledge that Plaintiffs are employees, and (2) are silent regarding overtime pay and

  any alleged exemptions to overtime. The alleged agreements fail to mention any statutory rights

  or employment or labor claims as being within their scope. Accordingly, the alleged agreements

  cannot be read to expand their scope beyond the substance of the alleged agreements.

            Despite acknowledging that Plaintiffs are employees, the alleged agreements never agreed

  to arbitrate any statutory claims, labor or employment claims, FLSA claims, nor any category of

  claims that include FLSA claims.

                   Even though there is a presumption in favor of arbitration, the
                   courts are not to twist the language of the contract to achieve a
                   result which is favored by federal policy but contrary to the
                   intent of the parties. Doe v. Princess Cruise Lines, 657 F.3d 1204,
                   1214 (11th Cir. 2011).

                   The FAA reflects the fundamental principle that arbitration is a
                   matter of contract. Rent-A-Center, W., Inc., V. Jackson, 130 S. Ct.
                   2772, 2776 (2010) (citing 9 U.S.C. § 2). Absent some ambiguity in
                   the agreement, it is the language of the contract that defines the
                   scope of disputes subject to arbitration. EEOC v. Waffle House,
                   Inc., 534 U.S. 279, 289, 122 S. Ct. 754, 762. A court may order
                   arbitration of a particular dispute only where the court is satisfied
                   that the parties agreed to arbitrate that dispute. Granite Rock Co. v.
                   Int’l Bhd. of Teamsters, 130 S. Ct. 2847, 2856 (2010) (internal
                   citation omitted) (emphasis in original).

  Mirabal v. S.K.I. Limousines, Inc. et al, Case No. 13-21042-civ-Graham/Goodman, DE 13, pp. 2-

  3 (S. D. Fla. May 29, 2013) (emphasis added).




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            As Eleventh Circuit precedent explains, if an arbitration provision is intended to have broad

  applicability, then such provision should use broad language. See Doe v. Princess Cruise Lines,

  Ltd., 657 F.3d 1204, 1218 (11th Cir.2011) (“If the cruise line had wanted a broader arbitration

  provision, it should have left the scope of it at ‘any and all disputes, claims, or controversies

  whatsoever’ instead of including the limitation that narrowed the scope to only those disputes,

  claims, or controversies ‘relating to or in any way arising out of or connected with the Crew

  Agreement, these terms, or services performed for the Company.’ ”).

            Defendants cannot expand the alleged agreements to compel arbitration of claims that are

  beyond their scope. The scope of the alleged agreements is limited to “[a]ny dispute arising out of

  this agreement shall be resolved by mediation or arbitration…”4

            The alleged agreements are completely silent regarding statutory claims and fail to

  authorize the arbitrator to resolve federal statutory claims; therefore, Plaintiffs cannot be

  compelled to arbitrate their federal FLSA claims:

                   [A] mandatory arbitration clause does not bar litigation of a federal
                   statutory claim, unless three requirements are met. First, the
                   employee must have agreed individually to the contract containing
                   the arbitration clause—the union having agreed for the employee
                   during collective bargaining does not count. *527 Second, the
                   agreement must authorize the arbitrator to resolve federal statutory
                   claims—it is not enough that the arbitrator can resolve contract
                   claims, even if factual issues arising from those claims overlap with
                   the statutory claim issues. Third, the agreement must give the
                   employee the right to insist on arbitration if the federal statutory
                   claim is not resolved to his satisfaction in any grievance process. All
                   three of those requirements were met in the Gilmer case, which is
                   the latest word from the Supreme Court on the subject. None of the
                   requirements were met in this case.

  Brisentine v. Stone & Webster Eng’g Corp., 117 F.3d 519, 526–27 (11th Cir. 1997).




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                 Brisentine does not stand for the proposition that an arbitration
                 agreement must specifically list every federal or state statute it
                 purports to cover. See, e.g., Bender v. A.G. Edwards & Sons,
                 Inc., 971 F.2d 698, 700 (11th Cir.1992) (finding that Title VII
                 claims were subject to arbitration where the arbitration agreement
                 stated that the parties agreed to arbitrate “any dispute, claim or
                 controversy that may arise between me and my firm, or a customer
                 or any other person that is required to be arbitrated under the rules,
                 constitution or by-laws of the organizations with which I register”).
                 To fall within the FAA’s ambit, however, an arbitration agreement
                 that purports to cover statutory claims must contain terms that
                 generally and fairly inform the signatories that it covers statutory
                 claims.

  Paladino v. Avnet Computer Techs., Inc., 134 F.3d 1054, 1059 (11th Cir. 1998)

         The alleged agreements do not contain terms that generally and fairly inform Plaintiffs that

  the alleged agreements cover statutory claims.

         WHEREFORE, Plaintiffs respectfully request that the Court deny Defendants’ Motion to

  Stay Proceedings and Compel Arbitration and Incorporated Memorandum of Law [DE 30] or, in

  the alternative, Plaintiffs demand a jury trial on the enforceability of the alleged agreements.

                                                Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on December 14, 2018 with the Clerk of Court using CM/ECF along with having served all counsel
  of record or pro se parties identified on the service list incorporated herein in the manner specified,
  either via transmission of Electronic filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties not authorized to receive electronically Notice of Electronic
  Filing.




                                                 Elliot Kozolchyk, Esq.

                                            SERVICE LIST

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